Case 2:22-cv-01257-GRB-AYS Document 31 Filed 10/20/23 Page 1 of 1 PageID #: 213




 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
ANDERSON ST. JOHN, individually and on
behalf of all others similarly situated,
                                                    Case No.: 22 CV 1257 (GRB)
                  Plaintiff,

       v.

ADESA, INC.,

                  Defendant.

                                    NOTICE OF APPEAL

        Notice is hereby given that Plaintiff Anderson St. John, individually and on behalf of all

 others similarly situated, hereby appeals to the United States Court of Appeals for the Second

 Circuit from the Final Judgment entered in this action on September 22, 2023 and all antecedent

 orders, including but not limited to the Memorandum of Decision and Order entered on September

 21, 2023.

 Dated: New York, New York                           /s/ Denise A. Schulman
        October 20, 2023                             D. Maimon Kirschenbaum
                                                     Denise A. Schulman
                                                     Josef Nussbaum
                                                     JOSEPH & KIRSCHENBAUM LLP
                                                     32 Broadway, Suite 601
                                                     New York, NY 10004
                                                     212-688-5640

                                                     Attorneys for Plaintiff and the putative class
